 Case: 4:10-cr-00536-HEA         Doc. #: 164 Filed: 01/12/11        Page: 1 of 1 PageID #:
                                            309



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
       Plaintiff,                                )
                                                 )
v.                                               )   No. 4:10CR536 HEA
                                                 )
DIANE R. GENTILE,                                )
                                                 )
       Defendant.                                )

                                           ORDER

       IT IS HEREBY ORDERED that a change of plea hearing is set in this matter for

Wednesday, January 19, 2011, at 10:30 a.m. in the courtroom of the undersigned.

       Dated this 12th day of January, 2011.




                                               ________________________________
                                                  HENRY EDWARD AUTREY
                                                UNITED STATES DISTRICT JUDGE
